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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
JLM COUTURE, INC.,
                                                                      No. 20 CV 10575-LTS-SLC
                                   Plaintiff,

                 -against-

HAYLEY PAIGE GUTMAN,

                                    Defendant.
-------------------------------------------------------x

                                                    ORDER

                 The Court has received Defendant’s motion to strike. (Docket Entry No. 62.) Any

opposition must be filed and emailed to Chambers by 12:00 p.m. on January 26, 2021. Any reply

must be filed and emailed by 4:00 p.m. on January 26, 2021.

        SO ORDERED.

Dated: New York, New York
       January 25, 2021


                                                                       /s/ Laura Taylor Swain
                                                                       LAURA TAYLOR SWAIN
                                                                       United States District Judge




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